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                      UNITED STATES OF AMERICA
        U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

BUSINESS HEALTH SOLUTIONS, P.C.,

       Plaintiff,

-vs-

FIRST ADVANTAGE CORP.,
FORMFOX, INC., and
JOHN DOES 1-10,

       Defendants.

                       COMPLAINT – CLASS ACTION

       Plaintiff is not aware of any related cases.

1.     Plaintiff, Business Health Solutions, P.C., brings this action to secure

redress for the actions of Defendants First Advantage Co., and Formfox, Inc, in

sending or causing the sending of unsolicited advertisements to telephone

facsimile machines in violation of the Telephone Consumer Protection Act, 47

U.S.C. §227 (“TCPA”).

2.     The TCPA expressly prohibits unsolicited fax advertising. Unsolicited fax

advertising damages the recipients. The recipient is deprived of its paper and ink

or toner and the use of its fax machine. The recipient also wastes valuable time it

would have spent on something else. Unsolicited faxes prevent fax machines from

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receiving and sending authorized faxes, cause wear and tear on fax machines, and

require labor to attempt to identify the source and purpose of the unsolicited faxes.

                                     PARTIES

3.     Plaintiff Business Health Solutions, P.C., is a professional corporation with

offices at 17197 N. Laurel Park Drive, Suite 107, Livonia, Michigan 48152, where

it maintains telephone facsimile equipment.

4.     Defendant First Advantage Corp., is a Delaware corporation with principal

offices at 1 Concourse Pkwy, Suite 200, Atlanta, Georgia 30328.

5.     Defendant Formfox, Inc., is a Utah corporation with principal offices at

1414 S Main Street, Salt Lake City, Utah 84115.

6.     Defendants John Does 1-10 are other natural or artificial persons that were

involved in the sending of the facsimile advertisement described below. Plaintiff

does not know who they are.

                         JURISDICTION AND VENUE

7.     This Court has jurisdiction under 28 U.S.C. §§1331 and 1367.      Mims v.

Arrow Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012).

8.     Personal jurisdiction is proper because Defendants have committed tortious

acts in this District by causing the transmission of unlawful communications into

the District.

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9.     Venue in this District is proper for the same reason.

                                       FACTS

10.   Some time in February 2018, Business Health Solutions, P.C. received the

unsolicited fax advertisement attached as Exhibit A on its facsimile machine.

11.   Discovery may reveal the transmission of additional faxes as well.

12.   Defendants are responsible for sending or causing the sending of the fax.

13.   Defendants, as the entities whose products or services were advertised in the

fax, derived economic benefit from the sending of the fax.

14.   Defendants either negligently or wilfully violated the rights of Plaintiff and

other recipients in sending the fax.

15.   Plaintiff had no prior relationship with Defendants and had not authorized

the sending of fax advertisements to Plaintiff.

16.   On information and belief, the fax attached hereto was sent as part of a mass

broadcasting of faxes.

17.   On information and belief, Defendants have transmitted similar unsolicited

fax advertisements to at least 40 other persons in Michigan.

18.   There is no reasonable means for Plaintiff or other recipients of Defendants

unsolicited advertising fax to avoid receiving illegal faxes. Fax machines must be

left on and ready to receive the urgent communications authorized by their owners.

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                                 COUNT I – TCPA

19.   Plaintiff incorporates ¶¶ 1-18.

20.   The TCPA makes unlawful the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone

facsimile machine ...” 47 U.S.C. §227(b)(1)(C).

21.   The TCPA, 47 U.S.C. §227(b)(3), provides:

      Private right of action.

      A person or entity may, if otherwise permitted by the laws or rules of court
      of a State, bring in an appropriate court of that State–

                   (A) an action based on a violation of this subsection or the
                   regulations prescribed under this subsection to enjoin such
                   violation,

                   (B) an action to recover for actual monetary loss from such a
                   violation, or to receive $500 in damages for each such violation,
                   whichever is greater, or

                   (C) both such actions.

             If the Court finds that the defendants willfully or knowingly violated
             this subsection or the regulations prescribed under this subsection, the
             court may, in its discretion, increase the amount of the award to an
             amount equal to not more than 3 times the amount available under the
             subparagraph (B) of this paragraph.

22.   Plaintiff and each class member suffered damages as a result of receipt of the

unsolicited faxes, in the form of paper and ink or toner consumed as a result.



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Furthermore, Plaintiff’s statutory right of privacy was invaded.

23.   Plaintiff and each class member is entitled to statutory damages.

24.   Defendants violated the TCPA even if its actions were only negligent.

25.   Defendants should be enjoined from committing similar violations in the

future.

                               CLASS ALLEGATIONS

26.   Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), Plaintiff brings this claim on

behalf of a class, consisting of (a) all persons (b) who, on or after a date four years

prior to the filing of this action (28 U.S.C. §1658), (c) were sent faxes by or on

behalf of either Defendant promoting its goods or services for sale.

27.   The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

28.   There are questions of law and fact common to the class that predominate

over any questions affecting only individual class members. The predominant

common questions include:

      a.     Whether Defendants engaged in a pattern of sending unsolicited fax

             advertisements;

      b.     The manner in which Defendants compiled or obtained its list of fax

             numbers;

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      c.     Whether Defendants thereby violated the TCPA.

29.   Plaintiff will fairly and adequately protect the interests of the class. Plaintiff

has retained counsel experienced in handling class actions and claims involving

unlawful business practices. Neither Plaintiff nor Plaintiff's counsel have any

interests which might cause them not to vigorously pursue this action.

30.   Plaintiff’s claims are typical of the claims of the class members. All are

based on the same factual and legal theories.

31.   A class action is the superior method for the fair and efficient adjudication of

this controversy. The interest of class members in individually controlling the

prosecution of separate claims against Defendants is small because it is not

economically feasible to bring individual actions.

32.   Several courts have certified class actions under the TCPA. American

Copper & Brass, Inc. v. Lake City Indus. Products, Inc., 757 F.3d 540, 544 (6th Cir.

2014); In re Sandusky Wellness Center, LLC, 570 Fed.Appx. 437, 437 (6th Cir.

2014); Sandusky Wellness Center, LLC v. Medtox Scientific, Inc., 821 F.3d 992,

998 (8th Cir. 2016); Holtzman v. Turza, No. 08 C 2014, 2009 WL 3334909 (N.D.Ill.

Oct. 14, 2009), aff’d in part, rev’d in part, vacated in part. 728 F.3d 682 (7th Cir.

2013); Ballard RN Center, Inc. v. Kohll’s Pharmacy and Homecare, Inc. 2015 IL

118644, 48 N.E.3d1060; Sadowski v. Med1 Online, LLC, 07 C 2973, 2008 U.S.

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Dist. LEXIS 41766 (N.D.Ill., May 27, 2008); CE Design Ltd. v Cy's Crabhouse

North, Inc., 259 F.R.D. 135 (N.D.Ill. 2009); Targin Sign Sys. v Preferred

Chiropractic Ctr., Ltd., 679 F. Supp. 2d 894 (N.D.Ill. 2010); Garrett v. Ragle

Dental Lab, Inc., 10 C 1315, 2010 U.S. Dist. LEXIS 108339, 2010 WL 4074379

(N.D.Ill., Oct. 12, 2010); Hinman v. M & M Rental Ctr., 545 F.Supp. 2d 802

(N.D.Ill. 2008); Clearbrook v. Rooflifters, LLC, 08 C 3276, 2010 U.S. Dist. LEXIS

72902 (N.D. Ill. July 20, 2010) (Cox, M.J.); G.M. Sign, Inc. v. Group C Communs.,

Inc., 08 C 4521, 2010 U.S. Dist. LEXIS 17843 (N.D. Ill. Feb. 25, 2010); Kavu, Inc.

v. Omnipak Corp., 246 F.R.D. 642 (W.D.Wash. 2007); Display South, Inc. v.

Express Computer Supply, Inc., 961 So.2d 451, 455 (La. App. 1st Cir. 2007);

Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So. 2d 510

(La. App. 1st Cir. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok. App. 2006);

ESI Ergonomic Solutions, LLC v. United Artists Theatre Circuit, Inc., 203 Ariz.

(App.) 94, 50 P.3d 844 (2002); Core Funding Group, LLC v. Young, 792 N.E.2d

547 (Ind.App. 2003); Critchfield Physical Therapy v. Taranto Group, Inc., 293

Kan. 285; 263 P.3d 767 (2011); Karen S. Little, L.L.C. v. Drury Inns. Inc., 306

S.W.3d 577 (Mo. App. 2010).

33.   Management of this class action is likely to present significantly fewer

difficulties that those presented in many class actions, e.g. for securities fraud.

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      WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

Plaintiff and the class and against Defendants for:

      a.     Statutory damages;

      b.     An injunction against the further transmission of unsolicited fax

             advertising;

      c.     Costs of suit;

      d.     Such other or further relief as the Court deems just and proper.



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                         NOTICE OF ASSIGNMENT

     Please be advised that all rights relating to attorney’s fees have been
     assigned to counsel.


                                      /s/ Daniel A. Edelman
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